         IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN
                  DISTRICT OF ILLINOIS EASTERN DIVISION

 EMOJI COMPANY GmbH,

                 Plaintiff,
            v.
 THE INDIVIDUALS, CORPORATIONS,
                                                     Civil Action No. 23-cv-
 LIMITED LIABILITY COMPANIES,
                                                     14925
 PARTNERSHIPS AND
                                                     Hon. John F. Kness
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE A
 HERETO,

                        Defendants.


       DEFENDANT, LIBERTY BRANDS US’, MOTION FOR BOND DAMAGES,
                    SANCTIONS, AND ATTORNEY FEES

       Defendant Liberty Brands US (“Defendant”), by the through its undersigned counsel, seeks

attorney’s fees, sanctions and bond damages against Plaintiff herein.

       DATED: January 22, 2024.                        Respectfully submitted,


                                                          /s/ Cory Jay Rosenbaum
                                                          C.J. Rosenbaum, Esq.
                                                          Rosenbaum & Segall, P.C.
                                                          780 Long Beach Blvd.,
                                                          Long Beach, NY 11561
                                                          CJR@AmazonSellersLawyer.com
                                                          212-256-1109
                                                          NYS Bar #2669133

                                                          ATTORNEY FOR DEFENDANT
                                                          LIBERTY BRANDS US
